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 9                        UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
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12     JAMES RUTHERFORD, an               Case No. 8:20-cv-01615-JLS-DFM
13     individual,

14                                          ORDER OF DISMISSAL WITH
       Plaintiff,                           PREJUDICE
15
       v.
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17     LEE & EO INVESTORS, LLC, a
       California limited liability
18     company; and DOES 1-10,
19     inclusive,
20     Defendants.
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     Case 8:20-cv-01615-JLS-DFM Document 20 Filed 01/06/21 Page 2 of 2 Page ID #:69


 1          After consideration of the Joint Stipulation for Dismissal of the entire action

 2    with Prejudice filed by Plaintiff James Rutherford (“Plaintiff”) and Lee & EO
 3
      Investors, LLC (“Defendant”), the Court hereby enters a dismissal with prejudice of
 4

 5    Plaintiff’s Complaint in the above-entitled action, in its entirety. Each party shall

 6    bear his or its own costs and attorneys’ fees.
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 8          IT IS SO ORDERED.
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      DATED: January 06, 2021
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11
                                       HON. JOSEPHINE L. STATON
12                                     UNITED STATES DISTRICT JUDGE
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